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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


    STARLINE MEDIA, INC. and DAVID
    NDALAMBA,

                       Plaintiffs,

    v.                                                Case No: 6:20-cv-1210-GAP-GJK

    ELISHA TRICE and
    JOMY STERLING

                       Defendants.


                                           ORDER
          This matter is before the Court on Plaintiffs’ Motion to Amend their Exhibit

    List (Doc. 154). In ruling on this motion, the Court also considered Defendant’s

    Response in Opposition (Doc. 164).

          This case is set for trial on April 4, 2022. On November 15, 2021, the Court

    issued an Amended Case Management and Scheduling Order directing the parties

    to submit a joint final pretrial statement, including exhibit lists, by December 3,

    2021. See Doc. 95. The parties timely submitted the Pretrial Statement with their

    exhibit lists. See Doc. 98. Plaintiffs now move to amend their Exhibit List to include

    three computer files, one screenshot, and Plaintiff David Ndalamba’s

    (“Ndalamba”) Application for Supplemental Copyright Registration. Defendant
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    Elisha Trice (“Trice”) opposes the motion in part with respect to the screenshot

    and Ndalamba’s Application.

           A motion for leave to amend after a deadline set out in the Court’s

    scheduling order will only be granted upon a showing of “good cause” pursuant

    to Rule 16(b). Sosa v. Airprint Sys., Inc., 133 F.3d 1417, 1418 (11th Cir. 1998). “The

    good cause standard precludes modification unless the schedule cannot ‘be met

    despite the diligence of the party seeking the extension.’” Id. (quoting Fed. R. Civ.

    P. 16(b)).

           Plaintiffs advise that they provided the application and the screenshot to

    Defendant’s counsel on February 8, 2022, and February 22, 2022, respectively.

    However, Plaintiffs do not explain why they failed to include this information on

    their exhibit list before the December 3rd deadline.1 Plaintiffs argue that Sterling

    would not be prejudiced by this late disclosure. But Plaintiffs do not provide any

    explanation for their lateness or detail why they could not meet the deadline

    despite their diligence here. Therefore, Plaintiffs failed to demonstrate good cause

    and their request will be denied as to the screenshot and Ndalamba’s Application.

    See Arch Specialty Ins. Co. v. Balzebre, No. 10-23775-Civ, 2013 WL 12065564, at *1–2




           1
            With respect to the application, Plaintiffs briefly argue that the fact that Ndalamba
    waited until February 7 to file the application justifies their late disclosure. But they fail to explain
    why the application could not be submitted prior to the deadline.




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    (S.D. Fla. Jan. 9, 2013) (denying motion to amend exhibit list where moving party

    declined to explain why they omitted certain items from their exhibit list until five

    weeks after the submission deadline).

          Accordingly, it is hereby ORDERED that Plaintiffs’ Motion to Amend their

    Exhibit List (Doc. 154) is GRANTED in part with respect to the three computer

    files described in Plaintiffs’ Motion. Doc. 154 at 3–4. The Motion is DENIED in all

    other respects.

          DONE and ORDERED in Chambers, Orlando, Florida on March 8, 2022.




    Copies furnished to:

    Counsel of Record
    Unrepresented Party




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